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                                  3                                 UNITED STATES DISTRICT COURT
                                  4                                NORTHERN DISTRICT OF CALIFORNIA
                                  5    M.R.,                                      Case No.: 4:22-cv-5137-YGR
                                  6                 Plaintiff,
                                  7            v.                                 Case Management and Pretrial Order
                                  8    FEDERAL CORRECTIONAL INSTITUTION
                                       “FCI” DUBLIN, ET AL.,
                                  9
                                                     Defendants.
                                  10
                                       M.S.,                                      Case No.: 4:22-cv-8924-YGR
                                  11
                                                    Plaintiff,
Northern District of California




                                  12
 United States District Court




                                               v.
                                  13
                                       FEDERAL CORRECTIONAL INSTITUTION
                                  14   “FCI” DUBLIN, ET AL.,
                                  15           Defendants.
                                  16
                                       GENESIS PRECIADO,                          Case No.: 4:22-cv-9096-YGR
                                  17
                                                    Plaintiff,
                                  18
                                               v.
                                  19
                                       JOHN RUSSELL BELLHOUSE, ET AL.,
                                  20
                                               Defendants.
                                  21

                                  22   D.V.,                                      Case No.: 4:23-cv-2135-YGR
                                  23                Plaintiff,
                                  24           v.
                                  25   FEDERAL CORRECTIONAL INSTITUTION
                                       “FCI” DUBLIN, ET AL.,
                                  26
                                               Defendants.
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                                             Case 4:22-cv-08924-YGR Document 53 Filed 07/13/23 Page 2 of 4




                                  1    J.,                                      Case No.: 4:23-cv-2201-YGR
                                  2                 Plaintiff,
                                  3            v.
                                  4    FEDERAL CORRECTIONAL INSTITUTION
                                       “FCI” DUBLIN, ET AL.,
                                  5
                                               Defendants.
                                  6

                                  7    C.,                                      Case No.: 4:23-cv-2206-YGR
                                  8                 Plaintiff,
                                  9            v.
                                  10   FEDERAL CORRECTIONAL INSTITUTION
                                       “FCI” DUBLIN, ET AL.,
                                  11
                                               Defendants.
                                  12
Northern District of California
 United States District Court




                                  13   A.,                                      Case No.: 4:23-cv-2342-YGR
                                  14                Plaintiff,
                                  15           v.
                                  16   FEDERAL CORRECTIONAL INSTITUTION
                                       “FCI” DUBLIN, ET AL.,
                                  17
                                               Defendants.
                                  18

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                                       R.,                                      Case No.: 4:23-cv-2405-YGR
                                  20
                                                    Plaintiff,
                                  21
                                               v.
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                                       FEDERAL CORRECTIONAL INSTITUTION
                                  23
                                       “FCI” DUBLIN, ET AL.,

                                  24
                                               Defendants.

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                                  1    D.S.,                                                 Case No.: 4:23-cv-2668-YGR
                                  2                 Plaintiff,
                                  3            v.
                                  4    FEDERAL CORRECTIONAL INSTITUTION
                                       “FCI” DUBLIN, ET AL.,
                                  5
                                               Defendants.
                                  6

                                  7    ANDREA REYES,                                         Case No.: 4:22-7704-YGR
                                  8                 Plaintiff,
                                  9            v.
                                  10   UNITED STATES OF AMERICA (FEDERAL
                                       BUREAU OF PRISONS),
                                  11
                                               Defendant.
                                  12
Northern District of California
 United States District Court




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                                               TO ALL PARTIES AND COUNSEL OF RECORD:
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                                               On Monday, July 10, 2023, the Court held a case management conference with respect to all
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                                  16
                                       the above-related cases. In accordance with Rule of Civil Procedure 1, the Court issues the

                                  17   following orders:

                                  18           1. All pending motions are deemed WITHDRAWN WITHOUT PREJUDICE TO REFILING.

                                  19           2. Requests to amend complaints are GRANTED.

                                  20           3. All current cases and any future related civil actions are STAYED until Monday,
                                  21                 December 18, 2023.
                                  22           4. On Monday, December 18, 2023, at 1:00 p.m. the Court will hold a further Case
                                  23                 Management Conference via the Zoom platform. The parties shall file one joint and
                                  24                 comprehensive statement for all cases five (5) business days in advance of the further
                                  25
                                                     case management conference date, including an update on service, response deadlines,
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                                                     pending motions, and anticipated actions. The Court intends to consolidate briefing with
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                                                     respect to similarly situated defendants and issues. The parties should confer on the
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                                                     overlap of legal issues. As set forth in the Court’s Standing Order in Civil Cases, these


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                                  1              conferences are intended to be substantive and productive. Accordingly, each party shall
                                  2              be represented at the case management conference by lead counsel with authority to
                                  3              enter into stipulations and be fully prepared to address all matters necessary for
                                  4              management and ultimate resolution of these actions.
                                  5
                                              IT IS SO ORDERED.
                                  6    Date: July 13, 2023                            _______________________________________
                                  7                                                           YVONNE GONZALEZ ROGERS
                                                                                         UNITED STATES DISTRICT COURT JUDGE
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Northern District of California
 United States District Court




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